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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF LOUISIANA
                           LAFAYETTE DIVISION

 TRACEY TRAHAN ET AL                        CASE NO. 6:20-CV-01004

 VERSUS                                     JUDGE JUNEAU

 TECHE TOWING, INC ET AL                    MAGISTRATE JUDGE HANNA


                                    JUDGMENT

       THIS MATTER was referred to United States Magistrate Judge Patrick J.

 Hanna for report and recommendation. After an independent review of the record,

 and noting the absence of any objection, this Court concludes that the Magistrate

 Judge’s report and recommendation is correct and adopts the findings and

 conclusions therein as its own. Accordingly,

       IT IS ORDERED that the Plaintiff’s Motion to Remand and Motion for

 Attorney’s Fees, Rec. Doc. 6, is GRANTED as to the Motion to Remand and

 DENIED as to the Motion for Attorney’s Fees. This matter is REMANDED to the

 16th Judicial District Court in St. Mary Parish, Louisiana.

        THUS DONE AND SIGNED in Lafayette, Louisiana, on this 19th day of

  October, 2020.




                                            MICHAEL J. JUNEAU
                                            UNITED STATES DISTRICT JUDGE
